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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY



    WELLS FARGO BANK, N.A.,               1:19-cv-77-NLH-KMW

                   Plaintiff,             ORDER

          v.

    COMMENTS SOLUTIONS, LLC and
    FIRST LEGACY COMMUNITY CREDIT
    UNION,

                   Defendants.


HILLMAN, District Judge

      For the reasons expressed in the Court’s Opinion filed

today,

      IT IS on this      17th        day of       December    , 2019

      ORDERED that Plaintiff Wells Fargo Bank, N.A.’s

(“Plaintiff”) motion for interpleader deposit (ECF No. 13) be,

and the same hereby is, GRANTED in part; DENIED in part, without

prejudice; and DENIED in part; and it is further

      ORDERED that, to the extent Plaintiff’s motion for

interpleader relief seeks permission to deposit $73,187.70 into

the Court’s Registry and dismiss it from this action, the motion

be, and the same hereby is, GRANTED; and it is further

      ORDERED that, to the extent Plaintiff moves for an award of

reasonable attorneys’ fees and costs, the motion is DENIED,

without prejudice to later re-filing; and it is further
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      ORDERED that, to the extent Plaintiff’s motion seeks an

order permitting it to deliver the funds at issue to Defendant

First Legacy Community Credit Union, the motion is DENIED; and

it is further

      ORDERED that all of the above relief is conditioned upon

Plaintiff depositing $73,187.70 into the Court’s Registry within

ten (10) days of this Order.       Failure to comply with this

requirement will render subject matter jurisdiction lacking in

this Court and will result in the dismissal of this action.



                                          s/ Noel L. Hillman
                                         NOEL L. HILLMAN, U.S.D.J.




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